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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



ANTHONY PERRY,

                Plaintiff,

       v.                                             Case No. 1:17-cv-01932-TSC

WILBUR ROSS,

                Defendant.




                                  [PROPOSED] ORDER

       Upon consideration of the motion to withdraw submitted by Michael Gottlieb, James
Kraehenbuehl, and Ross McSweeney, the Court GRANTS the motion and the aforementioned
attorneys may file notices of withdraw of appearance within seven days of this order.

       Signed this __ day of ___________, 2018.



                                                  The Honorable Tanya S. Chutkan
                                                  United States District Judge
